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                        EXHIBIT 11
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                                                                                         S. HRG. 107–720

        MEDICARE PAYMENTS FOR MEDICAL
                   SUPPLIES




                                          HEARING
                                                  BEFORE A

                                SUBCOMMITTEE OF THE
             COMMITTEE ON APPROPRIATIONS
                UNITED STATES SENATE
                       ONE HUNDRED SEVENTH CONGRESS
                                            SECOND SESSION


                                       SPECIAL HEARING
                                JUNE 12, 2002—WASHINGTON, DC


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                                             (II)
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                           PREPARED STATEMENT OF JANET REHNQUIST
         Good morning, Mr. Chairman and Members of the Subcommittee. I am Janet
       Rehnquist, Inspector General of the Department of Health and Human Services. I
       appreciate this opportunity to appear before you today to discuss some of the issues
       we have encountered with fraud, waste and abuse related to Medicare reimburse-
       ment for medical equipment and supplies.
         We continue to find that Medicare and its beneficiaries pay too much for medical
       equipment and supplies. You have specifically asked us to compare the price Medi-
       care pays for certain medical equipment and supplies with that of other payers, in-
       cluding the Department of Veterans Affairs (VA), Medicaid, Federal Employee
       Health Benefit (FEHB) plans, and retail suppliers. Our price comparison dem-
       onstrates that Medicare overpays for some medical equipment and supplies.
         The problems that we are discussing today are not new. We have done numerous
       reviews over the years documenting excessive reimbursement for medical equipment
       and supplies. The Centers for Medicare & Medicaid Services (CMS), the General Ac-
       counting Office (GAO) and Members of Congress such as yourself, Mr. Chairman,
       have done much to improve Medicare’s reimbursement for medical equipment and
       supplies. Improvements include creating supplier standards, centralizing claims
       processing into four regional carriers, and reducing oxygen reimbursement by 30
       percent. In addition, inherent reasonableness authority and competitive bidding
       demonstrations have been promising approaches to reduce excessive reimbursement.
       We believe that even more has to be done, and my testimony today will outline some
       specific steps to reduce or eliminate problems that continue today.
                                          BACKGROUND

          Medicare Part B expenditures for all medical equipment and supplies totaled
       more than $6.8 billion in 2000, of which beneficiaries paid more than $1.3 billion
       out of their own pockets. Medicare covers certain medical equipment and supplies,
       which include several categories of items. Durable medical equipment (DME) are
       items that can withstand repeated use and include oxygen equipment, hospital beds,
       wheelchairs, and other equipment that physicians prescribe for home use. Medicare
       Part B also covers certain drugs necessary for the effective use of DME, including
       albuterol for use with a nebulizer. Prosthetic devices replace all or part of a body
       organ. Medicare covers enteral and parenteral nutrition therapy under this benefit.
       Medical supplies include catheter, ostomy, incontinence, and wound care supplies.
       Medicare also covers braces and artificial limbs.
                                        RECENT OIG WORK

          We have conducted numerous studies in recent years, all showing that Medicare
       pays too much for certain medical equipment and supplies.
          Maintenance Payments for Capped Rental Equipment.—In a report we are releas-
       ing today entitled Medicare Maintenance Payments for Capped Rental Equipment,
       we reviewed Medicare’s maintenance payments that are made under the capped
       rental payment category. We found that Medicare paid substantially more for main-
       tenance on rented equipment than repairs on purchased equipment. Medicare pays
       for maintenance even if the supplier does not service the equipment. Furthermore,
       our additional analysis of supplier documentation found only 9 percent of the capped
       rental equipment actually received any maintenance and servicing. We estimated
       that Medicare could save approximately $100 million per year by eliminating main-
       tenance payments and, instead, pay only for repairs when needed. CMS concurred
       with our recommendation to eliminate maintenance payments and will seek legisla-
       tion to eliminate the purchase option under the capped rental category.
          Respiratory Assist Devices.—In June 2001, we issued a report entitledRespiratory
       Assist Devices With Back-up Rate. We concluded that the current Medicare payment
       method used for bi-level respiratory assist devices with back-up rate is inappro-
       priate. Medicare could save $11.5 million annually if this item were classified as a
       ‘‘capped rental’’ item rather than an item needing ‘‘frequent and substantial serv-
       ice’’. CMS is currently in the process of making this change.
          Prescription Drugs Used with Medical Equipment.—In March 2002, we released
       a report entitled Excessive Medicare Reimbursement for Albuterol. We found that
       Medicare and its beneficiaries would save $264 million a year if albuterol were re-
       imbursed at the median VA price and between $226 million and $245 million if re-
       imbursed at prices available to suppliers. A separate March 2002 report entitled Ex-
       cessive Medicare Reimbursement for Ipratropium Bromide found that Medicare and
       its beneficiaries would save $279 million a year if ipratropium bromide were reim-
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                                                                                 10
       bursed at the median VA prices and between $223 million and $262 million a year
       if reimbursed at prices available to suppliers.
          Blood Glucose Test Strips.—In a June 2000 report entitled Blood Glucose Test
       Strips: Inappropriate Medicare Payments, OEI–03–98–00230, we found that Medi-
       care allowed $79 million for blood glucose test strip claims with missing or flawed
       documentation. Orders for 25 percent of the sampled claims failed to establish bene-
       ficiaries’ eligibility for the supplies. Another 21 percent of claims had incomplete or-
       ders. We found that suppliers submit claims for test strips at irregular intervals,
       making it difficult to identify overlapping claims, claims without correct supporting
       documentation, and claims for excessive numbers of test strips. We recommended
       that CMS take several steps to promote compliance with Medicare guidelines for
       blood glucose test strips.
          We have performed numerous other reviews which consistently found that Medi-
       care pays too much for certain items of medical equipment and supplies because
       Medicare reimbursement rates are based on charges submitted to the program in
       1987. As a result, Medicare payments can bear little resemblance to prices available
       in the marketplace or to the actual cost of manufacturing and distributing the
       equipment.
                          PRICE COMPARISONS FOR 16 MEDICAL EQUIPMENT AND SUPPLY ITEMS

          The price comparisons that you requested confirm once again that Medicare pays
       more than other payers for certain medical equipment and supplies. We compared
       Medicare payment rates for medical equipment and supplies to the rates of other
       payers, and provided an estimate of potential savings if the Medicare program were
       to adopt the rates of these payers.
          Our analysis shows that health care consumers, Federal health insurance plans,
       State Medicaid agencies, and the VA pay less than Medicare for some of the medical
       equipment and supplies we reviewed. However, this analysis was not designed to
       follow the same process for rate setting purposes that CMS will need to employ
       using the inherent reasonableness authority authorized in Section 4316 of the Bal-
       anced Budget Act of 1997. In order for CMS to affect a payment reduction for items
       in our analysis, they would have to conduct a separate inherent reasonableness de-
       termination in accordance with procedures set forth in regulations. As discussed
       later in my testimony, revised standards have to be promulgated before this author-
       ity can be utilized.
          Also, unlike Medicare, which is a payer of services and not a provider of services,
       the VA generally obtains medical equipment and supplies by direct acquisition from
       manufacturers and wholesalers. The prices that the VA pays for medical equipment
       and supplies provide a rough estimate of the wholesale prices available to large pur-
       chasers. These prices do not take into account the Medicare supplier costs associ-
       ated with getting an item to a Medicare beneficiary.
          For our analysis, we compared the median Medicare price for 16 medical equip-
       ment and supply items with the median prices from the VA, State Medicaid agen-
       cies, fee-for-service FEHB plans, and retail suppliers. Twelve of these items were
       researched by the Chairman’s staff in 1996. The remaining four items had very
       large total Medicare payments in 2000. The 16 items we reviewed represent more
       than $1.7 billion (26 percent) of $6.8 billion in total allowed charges for medical
       equipment and supplies in 2000.
          The table below provides a description for each of the 16 codes reviewed. The
       methodology is provided as an appendix to this testimony.
                    Medicare Code                                                              Description

       A4253 .......................................   Blood glucose test or reagent strips for home blood glucose monitor, per 50 strips
       A4259 .......................................   Lancets, per box of 100
       A4323 .......................................   Sterile saline irrigation solution, 1000 ml
       B4035 ......................................    Enteral feeding supply kit; pump fed, per day
       E0135 .......................................   Walker, folding (pickup), adjustable or fixed height
       E0163 .......................................   Commode chair, stationary, with fixed arms
       E0178 .......................................   Gel or gel-like pressure pad or cushion, nonpositioning
       E0180 .......................................   Pressure pad, alternating with pump
       E0181 .......................................   Pressure pad, alternating with pump, heavy duty
       E0260 .......................................   Hospital bed, semi-electric (head and foot adjustment), with any type side rails, with mat-
                                                          tress
       E0277 .......................................   Powered pressure-reducing air mattress
       E0570 .......................................   Nebulizer, with compressor
       E0730 .......................................   TENS (transcutaneous and/or neuromuscular electrical nerve stimulators), four lead, larger
                                                          area/multiple nerve stimulation
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                                                                               11
                    Medicare Code                                                            Description

       E0776 .......................................   IV pole
       K0001 .......................................   Standard wheelchair
       K0011 .......................................   Standard-weight frame motorized/power wheelchair with programmable control parameters
                                                          for speed adjustment, tremor dampening, acceleration control and braking

           The results of our review are presented in the following table:
                                                             SUMMARY OF MEDICARE PRICES COMPARED TO VA, MEDICAID, RETAIL, AND FEHP PRICES FOR 16 ITEMS
                                                                                                                                                                 Percentage
                                                                                                                                       Percentage                difference              Percentage
                                                                                                                                       difference                                                                      Percentage              Percentage
                                                                                                                           Median VA                Median VA     between                difference
                                                                                                                 Median                 between                                Median                       Median     difference   Median     difference
                                                                                                                             price                  price with    Medicare                between
                                            Medicare code                                                       Medicare                Medicare                              Medicaid                       retail     between      FEHP        between
                                                                                                                            without                 67 percent     and VA                 Medicare
                                                                                                                  price                  and VA                                 price                        price      Medicare     price      Medicare
                                                                                                                            markup                   markup       with 67                    and
                                                                                                                                        without                                                                        and retail               and FEHP
                                                                                                                                                                  percent                 Medicaid
                                                                                                                                        markup                    markup

A4253 .......................................................................................................     $38.32     $19.50        49.11       $32.57      15.01        $35.81            6.55        $42.42    ¥10.70        $36.75       4.10
A4259 .......................................................................................................      12.68       8.69        31.47        14.51     ¥14.43         10.95          13.64           7.40     41.64         12.00       5.36
A4323 .......................................................................................................       8.68       1.02        88.25         1.70      80.41          7.33          15.55           6.25     28.00          7.95       8.41
B4035 ......................................................................................................       10.67       2.40        77.51         4.01      62.42         10.67   ................       9.05     15.18         11.30     ¥5.90
E0135 .......................................................................................................      83.43      39.36        52.82        65.73      21.22         69.57          16.61          95.60    ¥14.59         73.42      12.00
E0163 .......................................................................................................     109.74      32.30        70.57        53.94      50.85         89.16          18.75         112.50    ¥2.52         100.00       8.88
E0178 .......................................................................................................     120.74        N/A          N/A          N/A        N/A        101.87          15.63         118.31      2.01        111.90       7.32
E0180 .......................................................................................................     227.01      94.20        58.50       157.31      30.70        222.17            2.13        287.50    ¥26.65        210.20       7.40
E0181 .......................................................................................................     251.58      71.00        71.78       118.57      52.87        230.40            8.42        242.05      3.79        231.65       7.92
E0260 .......................................................................................................   1,754.55     762.10        56.56     1,272.71      27.46      1,359.10          22.54       1,608.91      8.30      1,397.65      20.34
                                                                                                                                                                                                                                                            12




E0277 .......................................................................................................   7,933.91   5,297.50        33.23     8,846.83     ¥11.51      6,341.10          20.08       3,912.50     50.69      7,000.00      11.77
E0570 .......................................................................................................      206.2      32.24        84.37        53.84      73.89        158.51          23.14          182.0     11.74        160.29      22.27
E0730 .......................................................................................................     365.76     165.00        54.89       275.55      24.66        353.45            3.37        645.00    ¥76.35        334.39       8.58
E0776 .......................................................................................................     142.45      50.25        64.72        83.92      41.09        108.62          23.75          39.10     72.55        116.71      18.07
K0001 .......................................................................................................     570.68     127.72        77.62       213.29      62.63        456.12          20.07         533.50      6.52        530.00       7.13
K0011 .......................................................................................................   5,270.30   2,767.64        47.49     4,621.96      12.30      4,912.16            6.80      5,347.83     –1.47      5,097.40       3.28
   Sources: Centers for Medicare & Medicaid Services, Medicare Fee Schedules, January 2002; Department of Veterans Affairs (VA), Pharmacy Benefit Management, Drug & Pharmaceutical Prices, March 25, 2002; VA, National Acquisition Cen-
ter, Federal Supply Schedule Contracts, March 2002; Office of Inspector General (OIG), Survey of State Medicaid Agencies, March 2002; OIG Survey of Medical Equipment Suppliers, March 2002; OIG Survey of Federal Employee Health Plans
(FEHPs), March 2002.
                                                                                                                                                                                                                                                                 Case 1:01-cv-12257-PBS Document 7132-11 Filed 06/10/10 Page 9 of 14
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                                                13
        Findings
          For some of the items in our analysis, Medicare consistently paid more than the
        other payers we reviewed. For example, median prices from all four sources (VA,
        Medicaid agencies, FEHB Plans, and retail suppliers) were more than 10 percent
        lower than Medicare rates for 3 of the 16 items. These items were powered pres-
        sure-reducing air mattress, nebulizer with compressor, and IV pole. Additionally,
        three of the four sources had prices that were at least 10 percent less than Medicare
        for another four items. These items were lancets, sterile saline irrigation solution,
        walker, and semi-electric hospital bed. A more detailed discussion of the price com-
        parisons follows:
               Department of Veterans Affairs
           Medicare’s reimbursement amount was greater than the VA median price for 15
        of the 16 items reviewed. We could not find a VA price for the remaining item. The
        VA median prices ranged from 31 to 88 percent less than the Medicare prices. Max-
        imum potential total savings would be $958 million per year if Medicare were to
        adopt these median VA prices. In addition to comparing the Medicare price to the
        median VA price without a markup, we have compared it to the median VA price
        with a 67 percent markup. In the August 13, 1999 Federal Register, when CMS
        compared Medicare prices to median VA prices, they added a 67 percent markup
        to the VA prices. We used CMS’ 67 percent figure since it was the only available
        data concerning a potential markup percentage. We did not verify or update the
        CMS markup percentage, nor do we advocate this as the appropriate markup to VA
        prices. We have presented the 67 percent markup price comparison solely to provide
        an example of possible savings, which take into account the distinction between
        Medicare as a payer and the VA as a purchaser of medical equipment and supplies.
        A mark up of 67 percent would result in potential savings of $440 million.
               Medicaid Prices
           The Medicare reimbursement was more than the Medicaid reimbursement for 15
        of the16 items reviewed. Medicare reimbursed the same as Medicaid for the remain-
        ing item. Median Medicaid prices ranged from 0–24 percent less than Medicare
        prices. If Medicare had used the median Medicaid prices for reimbursement on these
        items, the program could have saved $193 million.
               Federal Employee Health Plan Prices
           Medicare reimbursed more than the FEHB Plans median price for all but one of
        the items reviewed. The FEHB Plans prices ranged from 3 to 22 percent lower for
        the 15 items with reimbursement rates lower than Medicare. If Medicare were to
        reimburse based on FEHB Plan median prices, the program could save $118 million.
               Retail Prices
           Medicare prices were more than the median retail price for 10 of the 16 items.
        These median prices ranged from to 2 to 73 percent less than the Medicare price
        for the item. Potential Medicare savings would reach $84 million if Medicare used
        median retail prices for reimbursement on these 16 items.
               Competitive Bidding Demonstration Prices
           I would also like to note that four of the items in our analysis (saline solution,
        enteral feeding supply kits, semi-electric hospital beds, and standard wheelchairs)
        have been, or are currently, in Medicare’s competitive bidding demonstrations for
        DME, prosthetics, orthotics, and supplies. Competitive bid prices were 8 to 33 per-
        cent less than Medicare reimbursement rates for these four items.
                                    INHERENT REASONABLENESS

           CMS has certain authorities to control unreasonably high or low payment levels
        for medical equipment and supplies. Using the inherent reasonableness process,
        CMS is permitted to use other payment methodologies to align payment amounts
        with current market prices. Congress gave CMS added flexibility in making inher-
        ent reasonableness adjustments in the Balanced Budget Act of 1997. The law allows
        CMS to make inherent reasonableness adjustments, without formal rulemaking, as
        long as the annual adjustments are 15 percent or less. For these adjustments, CMS
        is required to describe in regulation the factors to be used in determining when pay-
        ment amounts are not inherently reasonable and those factors to be considered
        when establishing reasonable payment amounts.
           In 1998, CMS published an interim final rule revising the inherent reasonable-
        ness regulations. The DMERCs then surveyed retail prices for products they be-
        lieved might have excessive Medicare payment rates. The DMERCs notified sup-
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        pliers that they proposed to adjust Medicare payments for eight products and solic-
        ited public comments. The medical equipment and supplies industry raised concerns
        about the proposed reductions, and CMS suspended them.
           The CMS also attempted to use the inherent reasonableness process in August
        1999 by issuing a proposed notice to replace current fee schedules and implement
        special payment limits for five items of DME and one prosthetic device. The CMS
        determined that Medicare reimbursement for the six items was grossly excessive
        relative to the amount paid by the VA, and therefore not inherently reasonable. The
        CMS increased the median VA wholesale prices by a mark up of 67 percent to make
        a valid comparison between Medicare and VA prices.
           Because of concerns associated with the inherent reasonableness process, the Con-
        gress passed legislation in November 1999 prohibiting CMS from using its inherent
        reasonableness authority until a GAO report on the subject was issued, and a final
        rule has been published that responded to the GAO report and to public comments.
        The GAO report, issued in July 2000, found that there was sufficient evidence to
        indicate that Medicare overpays for most of the items identified by the DMERCs in
        1998, and that the use of the inherent reasonableness process for some items was
        justified. For other items, GAO questioned the rigor that carriers used in their col-
        lection of pricing data. The GAO recommended that CMS define what grossly exces-
        sive or deficient prices were in the final rule on the inherent reasonableness process.
        It also recommended that CMS develop and implement a more structured and con-
        sistent data collection sampling and survey methodology for inherent reasonableness
        reviews. In addition, GAO recommended that CMS monitor patient access to prod-
        ucts with reduced payments. To date, the final rule for inherent reasonableness has
        not been promulgated.
                                        COMPETITIVE BIDDING

           The Balanced Budget Act of 1997 authorizes CMS to enter into competitive bid-
        ding demonstrations for some categories of DME, prosthetics, orthotics and supplies.
        Using this authority, CMS has conducted multiple competitive bidding demonstra-
        tions with promising results.
           In the first demonstration, CMS selected five categories of DME, prosthetics,
        orthotics and supplies for competitive bidding in Polk County, Florida. Payments
        under the first demonstration began on October 1, 1999 and were in effect through
        September 30, 2001. Medicare implemented a second round of competitive bidding
        in Polk County in October 2001 for four product categories. Payments under this
        demonstration will remain in effect through September 30, 2002. The CMS esti-
        mates savings for Medicare and Polk County beneficiaries of 17 percent ($1.3 mil-
        lion) annually as compared to payments that would have been incurred under the
        year 2000 Medicare fee schedules.
           Medicare implemented an additional competitive bidding demonstration in San
        Antonio, Texas from February 1, 2001 through December 31, 2002 for five product
        categories. The CMS estimates 22 percent savings with this round of competitive
        bidding.
                                        INVESTIGATIVE CASES

           In addition to our audits and evaluations, the OIG has aggressively investigated
        individuals and entities that have defrauded our programs in this area. Between
        1996 and 2001, our investigations led to 88 successful criminal prosecutions of DME
        suppliers. During this same period, there were 82 civil settlements or judgments im-
        posed. Together, these criminal convictions and civil adjudications resulted in more
        than $277 million in restitution, fines and penalties being ordered by the courts.
        Also, during this time period, 166 exclusions were imposed on DME companies or
        their owners and employees.
           I would like to highlight two of these cases for you today. The first case involved
        the misbranding of a SureStep glucose meter. The company submitted documents
        to the Food and Drug Administration (FDA) and marketed the SureStep glucose
        meter without disclosing two defects that led some users to become medically com-
        promised. In this case, the equipment manufacturer was willing to risk the death
        of beneficiaries from the use of defective equipment because it could make so much
        money selling glucose monitoring strips for use with the meter. This company plead
        guilty to the misbranding allegation and paid a $30 million criminal fine in addition
        to a $30 million civil penalty. The second case involved one of the nation’s largest
        suppliers of respiratory services. Allegations included submission of forged and fal-
        sified documents, self-qualifying of oxygen tests, double billing, claims for undeliv-
        ered items, claims for deceased patients and inflated claims. A random sample of
        filed from one of the company’s subsidiaries revealed a 95 percent error rate. The
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        company agreed to pay the government $17 million to resolve its liability under the
        False Claims Act for these allegations.
                                           CONCLUSION

           Mr. Chairman, over the years you have expressed concern that Medicare pay-
        ments for many medical supplies remain excessive when compared to those of other
        payers. I know that you have worked diligently to safeguard taxpayer dollars and
        protect the Medicare program and its beneficiaries from fraud and abuse. We great-
        ly appreciate your efforts. CMS also has made significant improvements over the
        years to this important benefit including consolidating claims processing, estab-
        lishing supplier standards and requiring supplier applications. Competitive bidding
        also has shown promising initial results.
           Our work on the 16 items, as well as our prior work, documents that Medicare
        pays too much for some medical equipment and supplies. We believe that funda-
        mental reform is needed to ensure that Medicare and its beneficiaries pay a fair
        price. Fortunately, two promising reforms which we have long supported are already
        available for use. In fact, it is noteworthy that for nine items in our review, CMS
        has proposed reducing prices through the inherent reasonableness process or has
        used competitive bidding to actually lower prices. However, CMS needs to complete
        its inherent reasonableness regulation, and the Administration and the Congress
        need to work together to expand the competitive bidding provision beyond the dem-
        onstration phase.
           Thank you for the opportunity to discuss these important issues. I will be happy
        to answer your questions.
        APPENDIX A.—PRICE COMPARISONS FOR 16 MEDICAL EQUIPMENT AND SUPPLY ITEMS
                                     METHODOLOGY
          For the items reviewed, we calculated the median price from each source (VA,
        Medicaid agencies, FEHB Plans, and retailers) and compared it to Medicare’s me-
        dian price. We then calculated the percentage difference between the Medicare price
        and the median prices of each of the four sources (i.e., we found the difference be-
        tween the Medicare price and the other source’s lower price, and divided the dif-
        ference by the Medicare price). For those items where the Medicare price was higher
        than the source’s price, we multiplied this percentage by the total Medicare pay-
        ments for the item in 2000 to get an estimated annual dollar savings. We used the
        January 2002 Medicare fee schedules to determine the Medicare purchase prices for
        the 16 Medicare codes in our sample. Since fee schedule rates for the same codes
        differ among States, we calculated the median rate from the fee schedule rates for
        all 50 States, Puerto Rico, and the Virgin Islands.
          For the seven codes in the capped rental payment category, we used the Medicare
        formula to calculate how much these items would cost if beneficiaries chose to own
        them. For all but one of the items, the least expensive purchase price is equal to
        13 months of rental, and for the remaining item (motorized wheelchair) it is equal
        to 10 months of rental. Six codes in our sample are items that may be purchased
        new or used. In these cases, we used the fee schedule purchase price for new items.
        The remaining three codes in our sample are supplies that cannot be re-used and
        there is only one possible purchase price for these items in the fee schedule.
          We also gathered information from past and current CMS competitive bidding
        demonstration projects in Polk County, Florida and San Antonio, Texas. We re-
        viewed the list of items included in the demonstrations to determine if any of the
        16 items we reviewed had competitive bid prices.
          We sent a request to the VA’s National Acquisition Center to provide us with cur-
        rent Federal Supply Schedule prices for equipment and supplies that matched the
        description of our 16 Medicare codes. The National Acquisition Center handles the
        largest combined contracting activity within the VA. The National Acquisition Cen-
        ter determined which vendor contracts might contain products that matched the de-
        scriptions for 14 of the codes, and sent us the contract containing prices. For the
        two remaining codes (A4253—blood glucose test strips and A4259—lancets), we ob-
        tained Federal Supply Schedule prices from the VA’s Pharmacy Benefit Manage-
        ment website. From the available VA data, we identified items that we believed
        matched the descriptions of our Medicare codes.
          We sent requests to 52 State Medicaid agencies and 58 fee-for-service FEHB
        Plans to provide current reimbursement prices for items matching the description
        of the 16 Medicare codes. We received responses from 40 Medicaid agencies and 30
        FEHB Plans. Not all of the respondents could provide rates for every item.
          Finally, for each of the 16 codes, we identified Medicare suppliers that received
        the highest payments for that particular code in 2000. For each code we obtained
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                                                 16
        retail prices from 10 suppliers. We asked suppliers how much it would cost to buy
        the item, in cash, including tax and delivery charges. For three of the 16 items—
        blood glucose test strips for home blood glucose monitors, lancets, and enteral feed-
        ing supply kits for use with pumps—we requested more than one price. Generally,
        blood glucose test strips are made to fit specific brands of equipment. Therefore,
        prior to calling suppliers, we identified two commonly-used brands of test strips. We
        then requested the prices of these two brands of test strips from suppliers. Blood
        glucose test strips and lancets are often sold through mail order which may result
        in different prices than retail prices. Therefore, we asked for the mail order as well
        as the retail price. For enteral feeding supply kits, we identified two supply kits
        billed under code B4035, and then we asked suppliers for the prices of both supply
        kits. In addition, the enteral feeding supply kits are covered by Medicare on a per
        day basis, while the prices we were quoted were per unit. In our analysis, we com-
        pared the per-unit price to Medicare’s per-day price.
          Senator HARKIN. Ms. Rehnquist, thank you very much. I did not
        know that timing clock was on. I wanted to give you plenty of time,
        but we will get into a discussion.
          Again, let me just thank you and your whole office for really
        being diligent on this and doing it in a good time frame and not
        dragging it out for a long time.
          Ms. REHNQUIST. Well, thank you.
          Senator HARKIN. We really appreciate that very much. I went
        over the whole report. I just thought you did everything exemplary
        in terms of the investigation and bringing to light what we were
        paying on these items. So, again, I thank you and, through you, the
        staff that works for you.
          Ms. REHNQUIST. They deserve a lot of the credit.
          Senator HARKIN. Thank you.
        STATEMENT OF LESLIE G. ARONOVITZ, DIRECTOR, HEALTH CARE,
            PROGRAM ADMINISTRATION AND INTEGRITY ISSUES, UNITED
            STATES GENERAL ACCOUNTING OFFICE
           Senator HARKIN. Now we will turn to Ms. Aronovitz. Leslie
        Aronovitz is a Director of the Health Care Team for the GAO, the
        General Accounting Office. She received her bachelor’s degree from
        the University of Georgia and her M.B.A. from the Boston Univer-
        sity. Again, Ms. Aronovitz, your testimony will be made a part of
        the record in its entirety, but please proceed as you desire.
           Ms. ARONOVITZ. Thank you, Mr. Chairman. I am pleased to be
        here today to discuss Medicare payment methods for medical
        equipment, supplies, and covered outpatient drugs.
           You have heard from the Inspector General about the wide dis-
        parities between Medicare’s payment rates and the prices paid by
        others such as the VA or even retail customers. In a similar vein,
        we reported last year on Medicare’s policy of paying list price for
        covered outpatient drugs, while physicians and pharmacy suppliers
        could purchase them at substantial discounts—in one case as high
        as 86 percent off the list price.
           To best understand how to begin fixing this problem, I would like
        to take a minute to review the context in which Medicare operates
        as a payer of health care services and products. This will help ex-
        plain in part why effective solutions have been so elusive.
          MEDICARE PAYMENT APPROACHES LACK FLEXIBILITY TO KEEP PACE
                            WITH MARKET CHANGES

           Medicare is a highly visible public program with certain obliga-
        tions that may not be consistent with efficient business practices.
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